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   8                      UNITED STATES DISTRICT COURT
   9                    CENTRAL DISTRICT OF CALIFORNIA
 10    ADONIS REAL and ADAM TITCHER, ) CASE NO.: 2:22-cv-08909-FMO-PLA
       Individually and on Behalf of All Others )
 11    Similarly Situated,                      ) [PROPOSED] ORDER
                                                ) EXTENDING TIME TO RESPOND
 12                          Plaintiffs,        ) TO COMPLAINT
                                                )
 13                v.                           ) Judge: Hon. Fernando M. Olguin
       YUGA LABS, INC., WYLIE                   ) Complaint Filed: December 8, 2022
 14    ARONOW, GREG SOLANO, KEREM ))
 15    ATALAY, ZESHAN ALI, NICOLE               )
       MUNIZ, JASMIN SHOEMAKER,                 )
 16    PATRICK EHRLUND,                         )
       CHRISTOPHER LYONS, ALEXIS                )
 17    OHANIAN, AMY WU, MAARIA                  )
       BAJWA, DEAN STEINBECK, GUY               )
 18    OSEARY, MIKE WINKELMANN,                 )
       MADONNA LOUISE CICCONE,                  )
 19    PARIS HILTON, JAMES FALLON,              )
       ELECTRIC HOT DOG, INC.,                  )
 20    UNIVERSAL TELEVISION, LLC,               )
       JUSTIN BIEBER, GWYNETH                   )
 21    PALTROW, SERENA WILLIAMS,                )
       THOMAS PENTZ, AUSTIN                     )
 22    RICHARD POST, CALVIN                     )
       BROADUS JR., KEVIN HART,                 )
 23    ALEXANDER PALL, ANDREW                   )
       TAGGART, WARDELL STEPHEN
 24    CURRY II, NAYVADIUS WILBURN ))
       CASH, ABEL TESFAYE, KHALED               )
 25    MOHAMMED KHALED, ADIDAS
       AMERICA INC., ADIDAS VENTURE ))
 26    B.V., IVAN SOTO- WRIGHT, AND             )
       MOONPAY USA LLC,                         )
 27                          Defendants.        )
 28


                                   [PROPOSED] ORDER
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   1       This matter comes before the Court on the Joint Stipulation Extending Time to
   2 Respond to Complaint (the “Stipulation”) between Plaintiffs Adonis Real and Adam
   3 Titcher, individually and on behalf of all others similarly situated, and Defendants
   4 Yuga Labs, Inc., Wylie Aronow, Greg Solano, Kerem Atalay, Zeshan Ali, Nicole
   5 Muniz, Jasmin Shoemaker, Patrick Ehrlund, Christopher Lyons and Guy Oseary (the
   6 “Stipulating Defendants”).    Having considered the Stipulation, and good cause
   7 appearing therefor:
   8       The Court GRANTS the Stipulation and ORDERS the following:
   9       1.     Counsel for the Stipulating Defendants are authorized to and hereby
 10 accept service of the summons and the complaint in this action on the Stipulating
 11 Defendants’ behalf; provided, however, that acceptance of service and entry of this
 12 order shall not waive or prejudice any, and the Stipulating Defendants expressly
 13 preserve, all, rights, claims and defenses, including, but not limited to, all defenses
 14 relating to jurisdiction and venue, except a defense as to the sufficiency of service of
 15 the summons and complaint and the form of the summons.
 16        2.     The Stipulating Defendants shall have no obligation to answer or
 17 otherwise respond to, and each hereby is expressly relieved from answering or
 18 otherwise responding to, the Initial Complaint, subject to the provisions of paragraph 3
 19 below.
 20        3.     Promptly after entry of an order in this action (or in any consolidated
 21 action encompassing this action) appointing one or more lead plaintiffs and lead
 22 counsel pursuant to 15 U.S.C. §§ 77z-1(a)(3)(B) & 78u-4(a)(3)(B) (the “Order”),
 23 counsel for the Stipulating Defendants and Court-appointed lead counsel shall meet
 24 and confer regarding a schedule for (i) the filing of an operative complaint, (ii) any
 25 answer, motion to dismiss or other response thereto, and (iii) any subsequent briefing
 26 on such a motion to dismiss. Within fourteen (14) days after entry of the Order, the
 27 court-appointed lead plaintiff(s) and the Stipulating Defendants shall jointly submit a
 28 proposed schedule to the Court.

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                                      [PROPOSED] ORDER
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   1        4.     The scheduling of an initial pretrial conference pursuant to Fed. R. Civ.
   2 P. 16(b), the parties’ obligations to serve initial disclosures pursuant to Fed. R. Civ.
   3 P. 26(a), and the parties’ obligations to confer regarding case management and the
   4 development of a discovery plan and to submit a written report to the Court pursuant
   5 to Fed. R. Civ. P. 26(f), shall be stayed, sine die, pending the resolution of any motions
   6 to dismiss the amended and/or consolidated complaint (or the designated operative
   7 complaint) contemplated by paragraph 3 above.
   8        5.     Nothing herein shall prevent any party from moving to coordinate and/or
   9 consolidate this action with any related case, nor shall anything herein prevent any
 10 party from seeking additional time from the other parties and/or the Court with respect
 11 to any of the deadlines set forth above.
 12         6.     Nothing herein shall be deemed to constitute a waiver of any rights,
 13 objections or defenses (including, but not limited to, jurisdictional defenses) that any
 14 party may have with respect to this action or to the claims asserted in the complaint,
 15 and is without prejudice to any other or further application by a party to this Court or
 16 any other court.
 17
 18 DATED:
 19
 20                                           HON. FERNANDO M. OLGUIN
                                            UNITED STATES DISTRICT JUDGE
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                                       [PROPOSED] ORDER
